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           Re: [External] Final Chapter Edits Ready for Review - SOC8
           Hormone Chapter
           From:
           To:
           Cc:

           Date:     Fri, 29 Oct 2021 05:48:55 -0400

           Thanks•
           I feel for you having to do the exam...it is a crazy system...hope it went well.

           If you think your chapter members are going to make changes or suggestions is better they do that
           now than creating another draft, so I suggest you send it to them so they can feedback within 1 week
           and send us a clean final copy to us in a week time, what do you think?

           This is a question for -I         noticed that your chapters says:. "Statements supported by
           systematic literature reviews are rated as follows: ++++ strong certainty of evidence, +++
           moderate certainty of evidence, ++ low certainty of evidence, + very low certainty of
           evidence".

           My understanding was that we were not going to make a difference between statements based
           on LR and the rest, is that right       If so, we will need to remove the +, ++, +++,

           Regards




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                 RIM




           From:
           Date: Thursda   28 October 2021 at 20:04
           To:

           Cc:

           Subject: Re: [External] Final Chapter Edits Ready for Review - SOC8 Hormone
           Chapter

           Dear All,
           Please see the attached SOC Hormone chapter. There were quite a number of tasks
           that needed to be done so I needed the extra week. I have accepted most of the
           edits. I have added references. I have put in           additional comment about the
           discussion regarding surgical options for early pubertal children on blockers. There
           are a couple of comments that I could not address since Illwanted an expansion of
           one of our statements. I don't think it is necessary to add more text since the
           statement really refers to statements that should be in the primary care chapter. If
           you agree that we don't need to add anymore text to our chapter, then I have
           completed all of the requested work by the reference/copy editor. Please let me
           know if there is anything else at this stage. I know that some of our chapter members
           want to read this again. It might be a good idea given all of the edits but I assume
           there will be an opportunity in the future as this moves along to completion.




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           From:
           Sent: Friday, October 8, 2021 3:27 AM
           To:
           Cc:

           Subject: Re: [External] Final Chapter Edits Ready for Review - SOC8 Hormone Chapter

           Hi •
           Please Agree or decline the edits and add in the text anything else that is needed
           and send us a clean copy. That will be the final copy then.
           Regards




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           From:
           Sent: 07 October 2021 9:09 PM
           To:                                ; HormoneSOC8 <HormoneSOC8        wpath.org>
           Cc:

           Subject: Re: [External] Final Chapter Edits Ready for Review - SOC8 Hormone Chapter

           This is great. What is the most efficient way to provide information? Do you want me
           to add more comments or just accept the comments/changes that I agree with?
           Overall I agree with the copyedits and can answer the few queries.




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           From
           Sen Thursda            October 7 2021 2:45 PM
           To:                                             HormoneSOC8 <HormoneSOC8      w ath.org>
           Cc:

           Subject: [External] Final Chapter Edits Ready for Review - SOC8 Hormone Chapter

           Dear        and all,

           I hope this email finds you well. Please see attached for the feedback from the SOC8 Copyeditor and
           Reference Checker for the SOC8 Hormone Chapter. Please review the edits and comments
           throughout the document and advise any issues/concerns within 2 weeks by EOD Thursdayi
           October 21, 2021), so this chapter can be finalized.

           Please let us know if you have any questions.

           All best,




           This message and any attachment are intended solely for the addressee
           and may contain confidential information. If you have received this
           message in error, please contact the sender and delete the email and
           attachment.

           Any views or opinions expressed by the author of this email do not
           necessarily reflect the views of the University of Nottingham. Email
           communications with the University of Nottingham may be monitored
           where permitted by law.




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           and may contain confidential information. If you have received this
           message in error, please contact the sender and delete the email and
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           Fwd: Re: WPATH chapter on eunuchs - CONFIDENTIAL
           From:
           To:
           Date:                     Mon, 24 Jan 2022 11:31:12 -0500
           Attachments:              Eunuchs.doc (29.7 kB)

           Dear

           This is what I sent to




                  Original Message

           Subject:           Re: WPATH chapter on eunuchs
           Date:              2022-01-24 15:53
           From:
           To:



           Thanks-,         I look forward to hearing your views before I open another can of worms.

           For completeness I attach my complete review of the Eunuch Chapter.




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           I struggle with the concept of "Eunuch as a gender identity", but not with the concept of "Eunuch as an
           identity";

           I can understand (I think) "someone who identifies as Eunuch and experiences gender dysphoria (or
           gender

           incongruence), but struggle with the concept of subsuming "Eunuch" as an identity under TGD.

           Just very interested to hear your views on this.

           Warmest,




            L!.'       L1.1


           On 2022-01-24 15:23,                       wrote:

                        I am out of the area today with very limited internet (have to walk up the hill to
            get signal). I will reply by tomorrow evening CA time!

            Best,




            From:
            Sent: Saturda Januar 22 2022 10:34 AM
            To:
            Subject: Fwd: WPATH chapter on eunuchs




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              This Message Is From an External Sender
              This message came from outside your organization.

            Hi
            Hope you are okay!
            I went through entire SOC8: there are some issues with the assessment chapter which I think can
            be sorted out (with involvement of the entire BOD) and made fit for purpose for the communities
            WPATH serves.
            In addition, there are two very "controversial" (in my view) chapters      I commented on: Intersex
            and Eunuch.
            I can fully comprehend the concept of people with Intersex and gender dysphoria/gender
            incongruence and those who identify as Eunuch with gender dysphoria/gender incongruence, but
            NOT all Eunuchs and people with Intersex indiscriminately        makes no sense to me!
            Anyhow, see response from one of the Working Group Chairs below              I would really appreciate a
            chat with you about this before I step this up, because I am not letting this go for the sake of anyone
            other than following logic and reason,
            All in confidence ofcourse,

            With warm wishes,




            Begin forwarded message:

             From:
             Date: 22 January 2022 at 19:02:07 CET
             To:
             Cc:
             Subject: WPATH chapter on eunuchs

             Dear




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             As the chapter lead for the WPATH Standards of Care chapter on eunuchs, I was very surprised
             and disappointed by your very long set of comments about the chapter. Yours was one of the
             longest and the most negative. I was especially struck by two of the comments that you made:


                  1. There is the creation of a new term "Male-to-Eunuch gender dysphoria", which does not
                     exist in any diagnostic health classification system, or indeed in any scientific literature
                     published in reputable peer-reviewed journals, or medical textbooks.


              The term "Male-to-Eunuch was fully described and discussed in two articles in the International
             Journal of Transgenderism:

                       Vale K, Johnson TW, Jansen MS, Lawson BK, Lieberman T, Willett KH, Wassersug RJ.
                       (2010). The development of standards of care for individuals with a male-to-eunuch
                       gender identity disorder. International Journal of Transgenderism; 12:40-51.

                       Johnson TW, Wassersug RJ. (2016). Recognition of gender variants outside the binary
                       in WPATH Standards of Care, Version 7.0. International Journal of Transgenderism;
                       17:1-3.

             There are also articles in a number of other peer-reviewed journals, including the Archives of
             Sexual Behavior, the Journal of Sexual Medicine, and Asian Journal of Andrology. Articles
             discussing Male-to-Eunuch have been cited in over 100 articles published in a wide variety of
             journals and book chapters.

             You also wrote:


                  1. I have been working full-time as a trans health specialist providing psychological support,
                     endocrine treatment (initiation, dosing, and monitoring of gender affirming hormone
                     treatment), and referral for gender affirming surgeries for my patients since 2007. I have
                     treated thousands of TGD people with gender affirming hormone treatment. Our Centre
                     has approximately 3000 current patients and we receive in excess of thousand new
                     referrals per annum. I have NEVER met a patient who identified as Eunuch and
                     consequently, I am extremely sceptical about the veracity of this Chapter.


             I have been conducting research on the eunuch community for nearly 20 years and my name is
             known within the community. As a result, I have had a number of individuals seeking professional
             care contact me to see if I might help them to find counselors or medical practitioners to help
             them to obtain surgical castration and/or appropriate hormone treatment.

             Several years ago, before I knew better, I referred two individuals seeking care to the Nottingham
             Centre for Transgender Health. Both reported back to me that felt that their treatment was
             dismissive and abusive. I have referred no one further to the Centre. Male-to-Eunuch individuals
             have been there but have not been recognized. This is why the chapter on eunuchs is so
             important to have in the new Standards of Care. Eunuchs exist, and they require recognition and
             proper treatment.

             I hope that you will reconsider your comments on our chapter.




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             This Chapter is entitled "Eunuch"

             The definition of an eunuch is a man who has been castrated.

             I have very serious misgivings about this entire Chapter for a number of reasons:

                1. The Chapter makes a number of claims, such as "many people who benefit
                   from gender affirming medical care, those who identify as eunuch are the
                   least visible", "eunuch-identified individuals are in need of gender affirming
                   services", "the identity of eunuch is a gender identity of its own", etcetera
                   etcetera, and the only evidence to underpin these claims is 1 website "the
                   Eunuch Archive" established in 1998 and a repeated claim that "Eunuch-
                   identified people usually are less visible than other gender minorities
                   (Wassersug & Lieberman, 2010)" [read: invisible].
                2. Eunuch as an identity is not recognized by any reputable global health
                   organization, such as the WHO.
                3. Eunuch is not classified as a bona fide condition in the ICD-11 (WHO, 2019),
                   or indeed in the DSM-5 (APA, 2013), or any other diagnostic health
                   classification system.
                4. There is significant historical and cultural misappropriation of the term
                   Eunuch within this Chapter.
                5. This Chapter is very high on speculation and assumptions, whilst a robust
                   evidence base is largely absent.
                6. There are comparisons with and assumptions about TGD people which I do
                   not find appropriate (e.g., It is possible that some non-binary individuals
                   may also seek castration to better align their bodies with their gender
                   without identifying as eunuchs; this group also likely contains eunuch-
                   identified individuals who were seeking a way to obtain the care they
                   needed.).
                7. There is the creation of a new term "Male-to-Eunuch gender dysphoria",
                   which does not exist in any diagnostic health classification system, or indeed
                   in any scientific literature published in reputable peer-reviewed journals, or
                   medical textbooks.
                8. The majority of published reference works in this Chapter stems from one
                   single person, who — as far as I am aware is not a HP. I find this concerning.
                9. I have been working full-time as a trans health specialist providing
                   psychological support, endocrine treatment (initiation, dosing, and
                   monitoring of gender affirming hormone treatment), and referral for gender
                   affirming surgeries for my patients since 2007.1 have treated thousands of
                   TGD people with gender affirming hormone treatment. Our Centre has
                   approximately 3000 current patients and we receive in excess of thousand
                   new referrals per annum. 1 have NEVER met a patient who identified as
                   Eunuch and consequently, I am extremely sceptical about the veracity of this
                   Chapter.




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               10. Regarding the use of references (in the text and in the references section):
                   please use APA-7 style as is the IJTH referencing housestyle.




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           Re: International advisory - confidential
           From:      Eli Coleman <dreli
           To:        walterbouman <walterbouman
           Cc:        asa.radbal           jgreen <jgree                       , gail.knudson                Jon
                      Arcelus                                   marcib                   , Vin Tangpricha


           Date:      Sat, 21 Aug 2021 14:43:07 -0400

           Besides, my belief that this is the right thing to do, I would be concerned what commitments have
           made to our international advisory committee.

           Eli

           On Sat, Aug 21, 2021 at 1:29 PM Walter Bouman <walterbouman                            wrote:
            Dear Eli,

             Thanks for your thoughts. What was agreed in the past, may be obsolete in the present. We will
             discuss this in the Board and get back to you; and i will check what Rachel Levine's point of view is
             on these issues, when I meet with her next week.
             The sooner the SOC8 is published, the better, as it will potentially significantly improve the lives of
             millions of trans people and their families globally.

             Best,

             Walter


             Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

             Consultant in Trans Health/Hon. Professor School of Medicine, University of Nottingham, United
             Kingdom

             President World Professional Association for Transgender Health (WPATH)

             Editor-in-Chief International Journal of Transgender Health(IF = 5.333)


             Nottingham National Centre for Transgender Health




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              On 21 Aug 2021, at 15:47, Eli Coleman <clr                 wrote:




              We had agreed long ago that we would send to the International advisory committee and for
              legal review.

              Eli

              On Sat, Aug 21, 2021 at 2:18 AM Walter Bouman <walterbouman                          wrote:
               Okay, lets discuss this in more dept at some point as to which organization to ask to
               review the SOC8 and with which aim; how this fits in the current timeline; what to do if an
               organization objects to certain sections/Delphi statements of the SOC8.

                The SOC8 are clinical guidelines, based on clinical consensus and the latest evidenice
                based medicine; i dont recall the Endocrine Guidelines going through legal reviews before
                publication, or indeed the current SOC?

                With warm wishes and stay safe,

                Walter



                Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

                Consultant in Trans Health/Hon. Professor School of Medicine, University of Nottingham,
                United Kingdom

                President World Professional Association for Transgender Health (WPATH)

                Editor-in-Chief International Journal of Transgender Health(IF = 5.333)


                Nottingham National Centre for Transgender Health




                    On 20 Aug 2021, at 23:03, Asa Radix <asa.radix                wrote:




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                 You are correct Eli. He had a lot of work going on and I don't see an ethical issue

                 On Fri, Aug 20, 2021, 5:39 PM Eli Coleman <dreli             wrote:
                  First of all, I only recall that   removed himself because he was not able to
                  keep up with the demands - so I don't know what the ethical issue is.

                   Second, I don't know that you canal        select a board member of GATE to be
                   the representative. It seems that         would be the one to decide who would
                   review for GATE.

                   And, it is clearly important for GATE to review.

                   Eli

                   On Fri, Aug 20, 2021 at 4:30 PM Jamison Green <. reen                         wrote:
                                ith Asa. GATE must be included, even if it's no      . Isn't
                               affiliated with GATE now, too? And we did ask               thank you,
                    Asa, for reminding me of his last name!), too, early on, so I would like to have
                    him take a look from this perspective, apart from his role on the Global chapter,
                    if at all possible.

                     And a US legal (broad) review will be necessary because sometimes a human
                     rights approach conflicts with the civil rights available to trans people and
                     providers in the US. We should at least be aware of any conflicts in that area,
                     even if the SOC content doesn't change to accommodate it, because we will
                     have to argue it in court at some point. We should know what those potentially
                     problematic items are before we publish.

                     Thanks,
                     Jamison

                     On Fri, Aug 20, 2021 at 11:30 AM Asa Radix <asa.radix                   wrote:
                      We need to include GATE. We could ask that                         be the
                      representative.

                         Asa


                         On Fri, Aug 20, 2021 2:08 PM Walter Bouman
                         <walterbouman                 wrote:

                          Dear All,

                          I seriously think thatMM             position is compromised as he
                          stepped out of the SOC8 member group, and I seriously struggle - from
                          an ethical position - to see how he can offer a neutral point of view
                          towards WPATH's SOC8.

                          My thoughts are to ask for a legal (broad) review regarding basic human
                          rights (within reason; so you have to think this through who you ask,
                          otherwise the SOC8 will never see the light of day); and if there is a
                          specific appetite for an US based approach, we can look into this too




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                        and then have a global open, on-line consultation period fora few weeks
                        - very similar to the ICD-11 process - and then - assuming there are no
                        very contentious issues emerging - move to publish.

                        Interested to hear your thoughts.

                        With warm wishes,

                        Walter



                        Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

                        Consultant in Trans Health/Honorary Professor School of Medicine,
                        University of Nottingham, UK

                        President World Professional Association for Transgender Health
                        (WPATH)

                        Editor-in-Chief International Journal of Transgender Health (Impact
                        Factor 2020 = 5.333)

                        Nottingham National Centre for Transgender Health




                        On 2021-08-20 03:26, G Knudson wrote:

                         Hi Eli,




                         Gail

                         On Fri, Aug 20, 2021 at 5:38 AM Eli Coleman <dreli
                         wrote:

                           Who is on the international advisory to review the statements in
                           advance of the public period of comment on the SOC?

                           Thanks!




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                             Eli




                                         Eli Coleman, PhD.
                                         Academic Chair in Sexual Health
                                         Professor and Director
                                         The Institute for Sexual and Gender Health
                                         University of Minnesota Medical School
                                         Family Medicine and Community Health
                                         sexualhealth.umn.edu




                             Eli Coleman, PhD.
                             Academic Chair in Sexual Health
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                  Eli Coleman, PhD.
                  Academic Chair in Sexual Health
                  Professor and Director
                  Te Institute for Sexual and Gender Health
                  University of Minnesota Medical School
                  Family Medicine and Community Health
                  sexualhealth.umn.edu




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           Fwd: FW: Letter to WPATH re SoC8 Methods
           From:            Eli Coleman <dreli
           To:              asa.radi             , Jon Arcelus <jon.arcelul

           Date:            Wed, 13 Oct 2021 09:10:29 -0400
           Attachments:     Wilson 2015.pdf (237.32 kB)

           For discussion Friday.


           From:
           Date: Wed, Oct 13, 2021 at 7:30 AM
           Subject: FW: Letter to WPATH re SoC8 Methods




           Hi

           Maybe I had the wrong email for you? I would be very grateful for a response to our email below

           Very many thanks




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           From:
           Sent: 30 September 2021 16:56



           Subject: FW: Letter to WPATH re SoC8 Methods




           Dear Professor Eli Coleman



           I was one of the UK •overnment's first LGBT health advisors. My academic profile is here
                                                  My expertise lies in systematic reviewing, especially
           regarding sexual and gender minority health topics and for guideline development. I lead a
           team of researchers who are committed to helping people live their best lives using highest
           quality & evidence-based healthcare advice.



           We published this paper examining all international guidelines in the entire field of
           transgender health. The work was presented at both the WPATH 2020 and Endosoc 2021
           conferences. It has garnered nearly 5000 views & 1000 PDF downloads and no dispute of
           the findings. We believe the community, health-care practitioners and WPATH want, and
           need, the next Standards of Care to be better; high-quality, unassailable and deserving of
           respect by peers across medical disciplines and international bodies. We hoped to be able
           to report on Appraisal of Guidelines for Research and Evaluation (AGREE II) scores relevant
           to future guidelines in trans health as they are produced or reissued, and to be able to
           document improvements in quality. Thus, we await the forthcoming SoC8 with interest. We
           apologise for not writing sooner as we'd not seen the proposed methods until recently.



           We commend WPATH for the explicit aspiration for SoC8 to become evidence-based.
           Transparent, pre-publication of the Methods is welcome albeit incomplete. We have made a
           detailed analysis which we are happy to share as previous problems around evidence-based
           processes and content seem to remain unaddressed. In it we concentrate on a number of
           key areas, as delineated by                  (attached) that include:

           •   Guideline panel




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              Publicly available protocol

              How the committee gathered the evidence

              Recommendations and the supporting evidence

              External peer review

           We would like to engage in dialogue, as there appear to be shortcomings in all the above
           areas, and weaknesses will leave WPATH SOC8 open to criticism. AGREE II would provide
           a good remedy. Also I attach a paper about how to make guidelines when the evidence is
           weak, which I hope might be useful.

           Thank you in advance for acknowledging this communication and considering setting up a
           meeting.



           Sincerely,




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           -- Please click here to view our e-mail disclaime




                     Eh Coleman, PhD.
                     Academic Chair in Sexual Health
                     Professor and Director
                     The Institute for Sexual and Gender Health
                     University of Minnesota Medical School
                     Family Medicine and Community Health
                     sexualhealth.umn.edu




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